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                      EXHIBIT K
                   Case: 1:22-cv-04127 Document #: 1-11 Filed: 08/05/22 Page 2 of 5 PageID #:92
Nolan Transportation Group, LLC
                                        CARRIER CONFIRMATION: NTG LOAD # 5013110
                                                 CARRIER SALES REP: JOEY VAN FRAYEN                 NTG TRACKING & AFTER HOURS:
                                                 P: (470) 550-5730 Ext 1243                         P:
                                                 E: TEAM-JVF@NTGFREIGHT.COM                         E:

CARRIER                    FLOYD INC (MC# 977366)
OFFICE:                                                                              CHARGES: $1,000.00 LINE HAUL
BOOKED WITH:               jake                                                               $500.00 MACROPOINT ACCEPTED - must accept
PHONE:                     (630) 233-9652                                                     $1,500.00 TOTAL
FAX:
EQUIPMENT REQUIRED:        VAN
REFERENCE NUMBERS:         PO #: 62834827
                           BOL #: 62834827
CARRIER TERMS AND CONDITIONS CONTINUED: /////FAX BACK THIS CONFIRMATION SIGNED & COMPLETED TO FAX # LOCATED ON BOTTOM RIGHT OF THIS
CONFIRMATION. FOR DISPATCH, DRIVER MUST CALL NTG TO ACTIVATE PICK UP# ////// SHOULD A PROBLEM OR CHANGE ARISE AT ANY TIME, NOTIFY NTG
IMMEDIATELY, 24/7. RATE IS FOR EXCLUSIVE TRUCK ONLY UNLESS STATED IN WRITING. ALL FREIGHT TRAILERS MUST BE 10 YEARS OR NEWER. DO NOT SIGN FOR
DAMAGED GOODS. NTG IS NOT RESPONSIBLE FOR OVERWEIGHT/GROSS TRAILERS AFTER DRIVER HAS LEFT THE SHIPPER. IT IS CARRIER’S RESPONSIBILITY TO
CONFIRM OR MAKE ANY NECESSARY APPOINTMENTS 24 HOURS IN ADVANCE, AND CONFIRM DELIVERY ADDRESS ON BILLS. IF DIFFERENT, CALL BOOKING OFFICE
IMMEDIATELY FOR APPROVAL. ANY APPROVED CHANGES OR CHARGES MUST BE NOTED ON A NEW RATE CONFIRMATION SUPPLIED BY NTG. ALL LUMPERS
AND/OR ASSESSORIAL FEES MUST BE PREAPPROVED BY NTG THROUGH A NEW RATE CONFIRMATION AND AN ORIGINAL RECEIPT SENT IN WITH CARRIER’S
INVOICE IN ORDER TO BE REIMBURSED. DRIVER ASSIST AND FUEL SURCHARGE IS INCLUDED IN RATE. CARRIER REPRESENTS THERE ARE NO EXCLUSIONS IN
THEIR INSURANCE POLICY THAT WOULD APPLY TO THE FREIGHT BEING TRANSPORTED. NTG DOES NOT ADVANCE FUNDS FOR ANY REASON. CARRIER SHALL
COMPLY WITH ALL APPLICABLE FEDERAL, STATE, AND LOCAL LAWS AND REGULATIONS, AS WELL AS ALL ELD COMPLIANCE REGULATIONS, CONCERNING THE
TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT. THIS CONFIRMATION MUST BE SIGNED BY CARRIER AND RECEIVED BACK BY OUR BOOKING OFFICE FOR
PAYMENT.

STOP: 1 of 1

 PICK-UP         12/22/2021 Hours: 06:00-02:00 FCFS                           DELIVER 12/27/2021 Hours: 07:00-16:00 FCFS
 TTI ODC SHIPPING                                                             TTI GDC WAREHOUSE
 1400 SALEM RD                                                                7005 COCHRAN RD
 COOKEVILLE, TN 38506                                                         GLENWILLOW, OH 44139

 CONTACT                                          PICKUP# 62834827                                           DELIV#                       62834827
                                                                              CONTACT
 SHIPMENT DESCRIPTION                                                         SHIPMENT DESCRIPTION
 30 PALLETS CLEANING SUPPLIES 12690LBS                                        30 PALLETS CLEANING SUPPLIES 12690LBS
 PICKUP DESCRIPTION                                                           DELIVER DESCRIPTION
 **Detention 35/hour after two hours at shipper and receiver**

 MUST HAVE ELD INTERGRATION WITH NTG, OR DOWNLOAD
 MACROPOINT/FOURKITES TO RUN THIS LOAD.




           Double Brokering this load will cause this contract to become Null & Void. Double Brokering is strictly prohibited!
                  Signature ________________________________ Position _____________________ Date ____________

                  Carrier Signature __________________________ Position _____________________ Date ____________
                       Driver Name_______________________________ Driver cell_____________________________
                          Tractor #_______________________________Trailer#_______________________________

 By doing business with NTG you fully agree with NTG terms & conditions listed in the NTG broker agreement, carrier packet, and terms and
                                        conditions document located at www.terms.ntgfreight.com.

       NTG LOAD # 5013110 MUST BE INCLUDED ON YOUR INVOICE WITH A COPY OF THE P.O.D! Invoices will not be paid without a P.O.D!

SEND ALL INVOICES and PODS TO: 400 Northridge, Suite 1000, Atlanta, GA 30350, POD@NTGFREIGHT.COM, or Fax to 678-569-1059.
ASK US ABOUT RHINOPAY – NTG’s exclusive carrier payment program. Permanent Net-2 day terms for just 2.5% fee. Learn more at
www.ntgfreight.com/RhinoPay or email RhinoPay@ntgfreight.com! Broker agreement & rate confirmation must be completed, signed, and on file for payment on
this load. 200.00 WILL BE DEDUCTED FROM RATE IF POD IS NOT IS NOT RECEIVED WITHIN 48 HOURS OF SCHEDULED DELIVERY, OR IF THIS
RATE CONFIRMATION IS USED AS A POD!

                                                     400 Northridge, Suite 1000, Atlanta, GA 30350
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Want direct access to all of NTG’s available loads? Sign up for NTG’s free online carrier solution!

The NTGVision Carrier Portal provides real-time access to every load as soon as it becomes
available, allows you to view payment status on all of your loads and even lets you upload and submit
documents – all in one place!

All NTGVision Carrier users can take advantage of the following features:

   •   Advanced search capabilities including multi-state & radius search functionality
   •   Search filters for maximum number of stops, weight and mileage
   •   Expanded equipment availability including sprinter, cargo van and specialized
       equipment loads
   •   Visibility on loading hours & appointment times, weights and other load info
   •   Easy Registration and Simple Login & Mobile Friendly design use on-the-go

PLUS, inquire today about becoming a Gold Star Carrier for NTG so you can:

   •   View ALL available loads with just one click
   •   View the offer rates on all shipments
   •   Bid on loads by entering counter offers
   •   Book loads and receive rate confirmations, directly through the portal




       To ask about becoming a Gold Star Carrier, contact GoldStar@ntgfreight.com or call (470) 550-5771



         To check out all of these exciting features and see all that NTGVision has to offer, visit
                   ntgvision.com/Account/Register and follow the steps to register.


                                Charging Forward. NTG Delivers. | www.ntgfreight.com
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Nolan Transportation Group, LLC
                                        CARRIER CONFIRMATION: NTG LOAD # 5013110
                                                 CARRIER SALES REP: JOEY VAN FRAYEN                 NTG TRACKING & AFTER HOURS:
                                                 P: (470) 550-5730 Ext 1243                         P:
                                                 E: TEAM-JVF@NTGFREIGHT.COM                         E:

CARRIER                    FLOYD INC (MC# 977366)
OFFICE:                                                                              CHARGES: $1,500.00 LINE HAUL
BOOKED WITH:               jake                                                               $150.00 LAYOVER CHARGE - layover
PHONE:                     (630) 233-9652                                                     $500.00 MACROPOINT ACCEPTED - must accept
FAX:                                                                                          $2,150.00 TOTAL
EQUIPMENT REQUIRED:        VAN
REFERENCE NUMBERS:         PO #: 62834827
                           BOL #: 62834827
CARRIER TERMS AND CONDITIONS CONTINUED: /////FAX BACK THIS CONFIRMATION SIGNED & COMPLETED TO FAX # LOCATED ON BOTTOM RIGHT OF THIS
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STOP: 1 of 1

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 COOKEVILLE, TN 38506                                                         GLENWILLOW, OH 44139

 CONTACT                                          PICKUP# 62834827                                           DELIV#                       62834827
                                                                              CONTACT
 SHIPMENT DESCRIPTION                                                         SHIPMENT DESCRIPTION
 30 PALLETS CLEANING SUPPLIES 12690LBS                                        30 PALLETS CLEANING SUPPLIES 12690LBS
 PICKUP DESCRIPTION                                                           DELIVER DESCRIPTION
 **Detention 35/hour after two hours at shipper and receiver**

 MUST HAVE ELD INTERGRATION WITH NTG, OR DOWNLOAD
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           Double Brokering this load will cause this contract to become Null & Void. Double Brokering is strictly prohibited!
                  Signature ________________________________ Position _____________________ Date ____________

                  Carrier Signature __________________________ Position _____________________ Date ____________
                       Driver Name_______________________________ Driver cell_____________________________
                          Tractor #_______________________________Trailer#_______________________________

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                                                     400 Northridge, Suite 1000, Atlanta, GA 30350
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   •   Search filters for maximum number of stops, weight and mileage
   •   Expanded equipment availability including sprinter, cargo van and specialized
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   •   Easy Registration and Simple Login & Mobile Friendly design use on-the-go

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   •   View the offer rates on all shipments
   •   Bid on loads by entering counter offers
   •   Book loads and receive rate confirmations, directly through the portal




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         To check out all of these exciting features and see all that NTGVision has to offer, visit
                   ntgvision.com/Account/Register and follow the steps to register.


                                Charging Forward. NTG Delivers. | www.ntgfreight.com
